Case 5:06-cr-50112-TS-MLH   Document 193   Filed 01/23/09   Page 1 of 8 PageID #:
                                     621
Case 5:06-cr-50112-TS-MLH   Document 193   Filed 01/23/09   Page 2 of 8 PageID #:
                                     622
Case 5:06-cr-50112-TS-MLH   Document 193   Filed 01/23/09   Page 3 of 8 PageID #:
                                     623
Case 5:06-cr-50112-TS-MLH   Document 193   Filed 01/23/09   Page 4 of 8 PageID #:
                                     624
Case 5:06-cr-50112-TS-MLH   Document 193   Filed 01/23/09   Page 5 of 8 PageID #:
                                     625
Case 5:06-cr-50112-TS-MLH   Document 193   Filed 01/23/09   Page 6 of 8 PageID #:
                                     626
Case 5:06-cr-50112-TS-MLH   Document 193   Filed 01/23/09   Page 7 of 8 PageID #:
                                     627
Case 5:06-cr-50112-TS-MLH   Document 193   Filed 01/23/09   Page 8 of 8 PageID #:
                                     628
